Case 1:05-cv-01020-.]DT-tmp Document 37 Filed 08/08/05 Page 1 of 2 Page|D 32

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

HALEY NICOLE Rl-IODES, a minor, by
and through her parents WANDA MARIE
RHODES and BUSTER LEE RHODES
and BRANDON MATTHEW

RHODES, a minor, by and through

his parents WANDA MARIE RHODES
and BUSTER LEE RHODES

 

No. l:OS~lOZO-JDT-tmp
Plaintiffs,

V.

SUSAN WALLACE and

HENDERSON COUNTY BOARD
OF EDUCATION,

\_/\_/\_/\_/\¢_/\.,/\'/\_/\_/\_/\_/\_/\_/\/\-,/\_/\_/

Det`endants.

 

ORDER PERMITTING WITHDRAWAL OF COUNSEL

 

lason B. Rudd and J on A. York, attomeys for Defendant Susan Wallace, have moved the
Court to permit them to Withdraw as counsel in this action. Defendant Susan Wallace consents
to this Withdrawal. Counsel for the Plaintii`fs and Co-Defendant do not object to the Withdrawal
and Det`endant Susan Wallace is currently, and Will continue to he, represented by other counsel
in this matter. Furthermore, Withdrawal from this case by Attorneys Jason B. Rudd and Jon A.
Yorl<; will not prejudice the parties and will not cause any delay in this matter. Accordingly,

Attomeys Jason B. Rudd and Jon A. York’s motion to withdraw as counsel in this matter is

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`JUDGE
This document entered on the dockets eat in co(r)npliance
with Ru!e 58 and,'or_?Q {a) FF|CP on

GRANTED.

DATE: AuW %/,9°‘§

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This notice confirms a copy of the document docketed as number 37 in
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Honorable .l ames Todd
US DISTRICT COURT

